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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                CASE NO.: 1:04-CR-010-SPM

MARCIA THURMAN, et al.,

     Defendants.
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                        ORDER RESCHEDULING HEARING

       This cause comes before the Court on its own motion. It has come to the

attention of the Court that there is a pending hearing for a violation of

Defendant’s probation. An initial appearance on this new violation has been

scheduled for August 13, 2007. Therefore, this Court will reschedule the

Defendant’s August 6, 2007 hearing so that the hearing on both violations can be

consolidated into one hearing. Accordingly, it is ordered and adjudged that

Defendant’s hearing is rescheduled for Monday, August 27, 2007 at 1:30 p.m.

              DONE AND ORDERED this thirty-first day of July, 2007.




                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
